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                           Exhibit A
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


      UNITED STATES, et al.,
                                                          No. 1:23-cv-00108-LMB-JFA
                    Plaintiff,
            v.

      GOOGLE LLC,

                   Defendant.



                                 DECLARATION OF BRYAN WIELAND

          I, Bryan Wieland, hereby declare as follows:

          1.     I am Senior Legal Counsel of Global Commercial and Product and Lead Lawyer,

  Americas at Criteo Corp. (“Criteo”), located in New York City, New York. Among other duties,

  I am involved in assisting with responding to subpoenas issued to Criteo in connection with

  ongoing litigation.

          2.     In connection with my duties, I have been personally involved in collecting

  documents that were produced in the above-captioned litigation pursuant to subpoenas issued by

  the parties. Accordingly, I have personal knowledge of the contents of the Criteo documents

  attached as exhibits to, and cited in, the summary judgment briefing and motions to exclude

  recently filed by the parties, which are currently the subject of sealing motions filed by the

  parties as ECF Nos. 592, 605, 612, 642, 648, 651, 661, 667, 698, 712, and 719. I have

  participated in the review of the Criteo materials submitted in connection with these filings.

          3.     The parties’ briefing includes multiple exhibits and citations to materials

  produced by Criteo in this litigation.1 Two of those citations which are subject to sealing

  motions at ECF Nos. 642 and 661 quote Criteo’s competitively sensitive business information:

  1
   For reference, Criteo’s materials were filed in connection with the following docket entries:
  ECF No. 669, Exs. 8, 26, and 32; ECF No. 660, Ex. A; ECF No. 640, Exs. D, J, & M; ECF No.
                                                    1
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         •         DOJ Opp. to Mot. to Exclude Simcoe, ECF No. 640 (“ECF No. 640”), quoting
                   CRITEO_GOOGLELIT_0000011698, at -701 – Criteo’s response to the
                   European Commission’s Questionnaire re “COMP/AT.40760 – Google – AdTech
                   and Data-related practices” (beginning “Yes we have been bidding
                   differently . . . .”); and

         •         DOJ Opp. to Mot. to Exclude R. Lee, ECF No. 660 (“ECF No. 660”), quoting
                   CRITEO_GOOGLELIT_0000000729, at -730 (beginning with “Criteo
                   targets . . . .”)

         4.        Specifically, ECF No. 640 quotes Criteo’s confidential response, submitted to the

  European Commission pursuant to the Commission’s investigation into digital advertising

  practices, which details Criteo’s bidding strategy as well as what it considers to be optimal

  bidding practices for first- and second-price auctions.

         5.        In ECF No. 660, there is a quote from an internal strategy document by Criteo

  that states the revenue percentage rates Criteo targets for new versus current customers in the

  United States.

         6.        Public disclosure of this highly confidential revenue target and bidding strategy

  information would irreparably harm Criteo’s competitive standing. Such disclosure would give

  Criteo’s current and potential customers an unfair advantage in negotiations with Criteo, and

  Criteo’s competitors an unfair advantage by providing them with detailed information regarding

  Criteo’s bidding practices, allowing them to form counterstrategies that would harm Criteo.

  Given the sensitive nature of these documents, Criteo has not publicly disclosed this information,

  has limited disclosure of this information within Criteo, and has consistently designated this

  material as confidential, including pursuant to the Protective Order entered in this case.

         7.        Accordingly, Criteo seeks to maintain the quote describing Criteo’s bidding

  strategy from ECF No. 640 and the numerical percentages for Criteo’s target revenues quoted in

  ECF No. 660 and under seal.



  570; ECF No. 573 & Exs. 1, 3; ECF No. 576, Ex. 1; ECF No. 579, Ex. 1; ECF Nos. 581-585
  Exs. 8, 20; ECF Nos. 708, 709, Exs. 127, 137, 145. For the avoidance of doubt, Criteo is moving
  to seal only the two narrow portions of documents discussed herein.

                                                    2
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             I declare under penalty of perjury under the laws of the United States that the foregoing is true and

  correct.

             Executed on June 14, 2024, at New York City, New York.




                                                               BRYAN WIELAND




                                                           3
